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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA



KAREN L. PIPER,                    )
                              Plaintiff,
                                   )
                                   )
      vs.                          ) Civil Action No. 11-1215
                                   ) Judge Joy Flowers Conti/
CITY OF PITTSBURGH; JOHN DOE NO. ) Magistrate Judge Maureen P. Kelly
1 OF THE PITTSBURGH BUREAU OF      )
POLICE; JOHN DOE NO. 2 OF THE      )
PITTSBURGH BUREAU OF POLICE;       )
JOHN DOE NO. 3 OF THE PITTSBURGH )
BUREAU OF POLICE; JOHN DOE NO. )
5 OF THE PITTSBURGH BUREAU OF      )
POLICE,                            )
                       Defendants. )


                                       HEARING MEMO

                             HEARING ON: Settlement Conference
                             DATE HEARING HELD: May 30, 2012
                           BEFORE: Magistrate Judge Maureen P. Kelly

Appearing for Plaintiff:                            Appearing for Defendants:
Michael Louik, Esquire                              Paul Krepps, Esquire
Tom Hollander, Esquire                              John Doherty, Esquire
Vic Walczak, Esquire

Hearing began at 9:00 a.m.                          Hearing concluded at 3:25 p.m.


                                           OUTCOME:

Representatives of parties participated as directed at 3/29/12 status conference. Conference
conducted.



cc:    All counsel of record by Notice of Electronic Filing
